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JS44 (Rev. 10/20) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

 

L (a) PLAINTIFFS DEFENDANTS
J. ¥. P. A2B CARGO LOGISTICS INC., ETAL...
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
{EXCEPT IN US. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)

PRO-SE LUCAS DAVIDSON

Hi, BASIS OF JURISDICTION (Place an “XX” in One Box Onty} i. CIFIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

(For Diversity Cases Galy) and One Box for Defendant) ,

([]}1 U.S. Government ["]3 Federal Question PTF DEF , PTF = DEF

Plaintiff (US. Government Not a Party) Citizen of This State C] i 1 incoyporated er Principal Place Co 4 EL 4
of Business In This State

[-]2 U.S. Government [<]4 Diversity Citizen of Another State [=]2 [[] 2 Incorporated and Principal Place [] 5 [5

Defendant (indicate Citizenship of Parties in Item ID of Business In Another State
Citizen or Subject of a [13 [] 3. Foreign Nation Tle [je
Foreign Country

 

 

 

 

         

 

IV. NATURE OF SUIT (Place an “X" in One Box Only) Click here for: Nature of Suit Code Descriptions.

     

 

 

 

 

 
    
 
 

 

 

 

 

  
 

  

 

 

 

  

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[oe | CONTRACT. = S “TORTS. =e FORFEITURE/PENALTY: 2 Fos BANKRUPTCY: : OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY ry 625 Dmg Related Seizure 4 427 Appeal 28 USC £58 375 False Claims Act :
120 Marine H 310 Airplane Fi 365 Personal Injury - of Property 27 USC 881 423 Withdrawal 376 Qui Tam G1 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 Pe 3729(a)}
140 Negotigble Instrument Liability EA 367 Health Care/ 400 State Reapportionment
E_]150 Recovery of Overpayment |_| 320 Assault, Libel & Pharmaceutical PRE ERIGHTS 3 41) Antitrust
& Enforcement of Judgment, Slander Personal Injury §20 Copyrights |_| 430 Banks and Banking
S 151 Medicare Act |_| 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability [[] 368 Asbestos Personal 835 Patent- Abbreviated [| 460 Deportation
Student Loans 340 Marine : Injury Product New Drug Application {| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability |_| 840 Trademark Conrupt Organizations
Ll 153 Recovery of Gverpayment)) Liability PERSONAL PROPERTY L2 TABOR. 880 Defend Trade Secrets [| 486 Consumer Credit
of Veteran’s Benefits . 50 Motor Vehicle 3706 Other Fraud 710 Fair Labor Standards Act of 2016 (E5 USC 1681 or 1692)
a 160 Stockholders’ Suits 5 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
P_]190 Other Contract Product Liability {_ 380 Other Personal | 1720 Labor/Management — OO SOCIAL SECURITY, Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1595ff) 4 490 Cable/Sat TV
-| [96 Franchise Injury [1385 Property Damage 74G Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
mi 362 Personal Injury - Product Liability 751 Family and Medicat 863 DIWC/DIWW (405(g)) £ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_{ 890 Other Statutory Actions
[oC UREAL PROPERTY| CIVIL RIGHIS | PRISONER PETILIONS | 1790 Other Labor Litigation [[]} 865 RSI (405(@)) |_| 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | _}791 Employee Retirement 893 Environmental Matters
fF }220 Foreclosure | 441 Voting 463 Alien Detainee Income Security Act oREDERAL TAX SUITS] | 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 1] 870 Taxes (U5. Plaintiff Act
240 Torts to Land 443 Housing! Sentence or Defendant) 896 Arbitration
pa Tort Product Liability Accommodations | 530 General | | 871 1RS—Third Party -| 899 Administrative Procedure
| {290 All Other Real Property |] 445 Amer. w/Disabilities - | 535 Death Penalty : “SEVIMIGRA TION 2525 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application; Agency Decision
446 Amer. w/Disabilities -] | 540 Mandamus & Other ie Other Immigration | 950 Constitutionality of
' Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
Vv. ORIGIN (Place an “X” in One Box Only)
CO 1 Original 2 Removed from 3 Remanded from Cl 4 Reinstated or 7 5 Transferred from 6 Mulltidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (oe not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:
PERSONAL INJURY CAR WRECK
VH. REQUESTED IN = [] CHECK IF THIS 1S A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: — [lyes_[-]No
VOI RELATED CASE(S) ,
IF ANY Gee insrucons SODGE DOCKET NUMBER

 

 

 

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JODGE
